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                                         UNITED STATES DISTRICT COURT

                                       SOUTHERN DISTRICT OF NEW YORK



ARI TEMAN,

Plaintiff,



-vs-



NOAM BIALE, PAUL ADAM ENGLEMAYER, SHER TREMONTE, LLP, JUSTINE HARRIS,

MARGARET GRAHAM, JACOB GUTWILIG, KEDAR BHATIA, EDWARD IMPERATORE, THE

UNITED STATES ATTORNEY’S OFFICE FOR THE SOUTHERN DISTRICT OF NEW YORK (THE

UNITED STATES DEPARTMENT OF JUSTICE), DOES 1-10, individuals, and DOES 11-20, organizations

(corporations),



Defendants.

                                                                  Case No.: 25-______________[TO BE ASSIGNED]

                                                                  INDIVIDUAL COMPLAINT​

                                                          ​       CIVIL RIGHTS (1983)




INTRODUCTION

       1.​ This action is initiated by Ari Teman, an individual seeking redress for the profound injustices inflicted upon

          him through the unethical, conflict-ridden conduct of Sher Tremonte, LLP, its partner Justine Harris, and its

          senior associate Noam Biale, who were retained to represent Teman in post-conviction proceedings

          following his wrongful conviction for employing remotely created checks (RCCs) as expressly permitted by

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       the Terms and Conditions of his innovative company, GateGuard, Inc., a leader in AI-enabled virtual

       intercom technology.

    2.​ The complaint also targets the extrajudicial misconduct of Judge Paul Adam Engelmayer -- who is currently

       facing multiple Articles of Impeachment “for high crimes and misdemeanors,”1filed by multiple members of

       Congress, who actively facilitated the concealment of a significant conflict of interest stemming from Biale’s

       marriage to Assistant United States Attorney Margaret Graham, a conflict that compromised Teman’s

       representation and was similarly undisclosed in other cases, such as Walsh v. United States, 17 CV 6651

       (LAP), as evidenced by a transcript documenting Sher Tremonte testimony against their own client (Exhibit

       B).

    3.​ Teman’s grievances encompass Engelmayer’s defamatory and religiously motivated hate speech, which

       falsely asserted that Teman exploited Orthodox Jewish clients by timing RCC transactions to coincide with

       Passover, relying on fabricated Jewish laws that contravene established religious doctrine. This misconduct,

       vehemently condemned by 24 ordained rabbis in a letter filed at Docket 326-1 in United States v. Teman

       Assistant United States Attorneys Jacob Gutwillig, Kedar Bhatia, and Edward Imperatore (former), former

       U.S. Attorney Damian Williams, current Assistant United States Attorney Rebecca Mermelstein, and the

       (Exhibit A), constitutes a violation of Teman’s First Amendment rights and falls outside the scope of judicial

       authority, as secular courts are prohibited from legislating or interpreting religious doctrine under Klagsbrun

       v. Vaad Harabonim of Greater Monsey, 53 F. Supp. 3d 732 (S.D.N.Y. 2014). The government, through

       United States Attorney’s Office for the Southern District of New York (SDNY AO), further exacerbated this

       violation by endorsing and reiterating these false religious claims in a manner that exceeded their

       prosecutorial authority. They did so being coached ex parte by Engelmayer regularly in calls he admits to

       making (US v Teman, Docket 321-1). These calls put the “thumb on the scale” against defendants and

       support an active and ongoing conspiracy to deprive defendants of their civil rights -- and even their liberty --

       for the personal profits and career advancement of the conspirators.



1
H.Res.143 — 119th Congress (2025-2026), https://www.congress.gov/bill/119th-congress/house-resolution/143/text
H.Res.145 — 119th Congress (2025-2026) https://www.congress.gov/119/bills/hres145/BILLS-119hres145ih.pdf
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    4.​ Sher Tremonte, Harris, and Biale were engaged to investigate prosecutorial misconduct in a case that

        improperly criminalized a civil dispute2, yet they failed to disclose Biale’s marriage to Graham, with whom

        he shared a confined workspace during the Covid-19 lockdown, thereby compromising privileged

        communications. Engelmayer, who maintained a close personal relationship with Biale—his mentee—and

        Graham, delayed disclosure of this conflict until a sentencing hearing on December 1, 2020, as captured in

        the transcript of that proceeding (Exhibit F). This delay violated Teman’s Sixth Amendment right to

        conflict-free counsel, as mandated by United States v. Curcio, 680 F.2d 881 (2d Cir. 1982), and caused

        irreparable harm to his defense.

    5.​ Engelmayer’s refusal to hold hearings on exculpatory evidence, which Biale falsely claimed to have pursued,

        further compounded Teman’s injury. Attorney Ronald D. Coleman, who provided pro bono assistance to

        Teman in seeking dismissal or a pardon, affirmed that Biale misrepresented his efforts to obtain exculpatory

        evidence from 18 Mercer LLC shareholders (Exhibit D). Shelly Jenkins Pecot, a shareholder at 18 Mercer,

        confirmed that witnesses concealed emails and documents evidencing their awareness of GateGuard’s fees,

        committing perjury at Teman’s trial (Exhibit E). Engelmayer’s refusal to consider this evidence, which has

        not yet been reviewed by the Second Circuit, appears motivated by his desire to protect Biale, his close

        friend and mentee, from liability for contributing to Teman’s wrongful conviction.

    6.​ Engelmayer’s admitted practice of making ex parte calls to SDNY AO colleagues to ensure prosecutorial

        staffing sufficient to secure convictions, as revealed in a sealed hearing transcript (Exhibit G, Dkt. 321-1),

        constitutes impermissible collusion and a direct violation of Teman’s Fifth Amendment due process rights.

        This pattern of misconduct, coupled with the government’s failure to address the Biale/Graham conflict, as

        evidenced by a FOIA email obtained from Butowsky v. US Dep’t of Justice, 21-cv-774 (Exhibit C), reflects a

        systemic disregard for constitutional protections that has caused Teman severe harm.

    7.​ Any statute of limitations applicable to Teman’s claims is tolled under both the discovery rule and equitable

        tolling principles. The full extent of the harm caused by Engelmayer’s refusal to hold hearings on the


2
 It is worth noting that the current US Pardon Attorney Edward Martin Jr has publicly and repeatedly called for Mr. Teman to be
pardoned, agreeing with Harvard Law Professor Lawrence Lessig that what Mr. Teman stands accused of cannot be a crime and
evidences no intent.
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   exculpatory evidence that Biale failed to pursue, as well as the religiously motivated violations detailed by

   the 24 rabbis, is only now being uncovered through ongoing appellate proceedings and Teman’s § 2255

   petition.

8.​ Additionally, Teman’s reasonable fear for his life and safety while under Engelmayer’s jurisdiction,

   stemming from credible threats posed by Engelmayer’s biased conduct—including his religiously motivated

   defamation and ex parte communications with prosecutors—prevented him from pursuing these claims

   earlier, further justifying tolling.

9.​ It is not only Teman who believes his life is at risk under Engelmayer and that Engelmayer intends to kill

   Teman or let him die through deprivation of medical treatment, but multiple board-certified physicians who

   have put such comments into the public docket, while Engelmayer continues to completely disregard every

   single board certified doctor -- without a single medical expert ever once contradicting them. Three

   board-certified specialists who relied upon MRI imaging and other medical records having treated Teman

   recommended Teman needed urgent treatment for a spinal and testicular conditions, Englemayer ignored

   them despite having zero evidence to the contrary, no medical images or experts who said otherwise. Once

   Teman was released from prison, new MRIs and ultrasounds confirmed Teman was truthful about his

   conditions and treatments were given. Following this, Teman experienced a severe ear condition, confirmed

   by two board certified physicians and an objective ETF (Eustachian Tube Function) test, and Engelmayer

   completely disregarded their opinion, despite the Government’s own expert stating clearly he could not

   contradict their opinion, and then ordered Teman to return from Israel during a multi-front war via a boat that

   does not exist and then violated Teman for not taking this non-existent boat.

10.​The personal animosity Engelmayer holds against Teman has been noted by Harvard Law Professors,

   Rabbis, Pundits, and community leaders, and even AI like Grok and ChatGPT, who all note it exuded in

   Engelmayer’s writings and his acerbic comments. Engelmayer has consistently acted more a prosecutor than

   a judge in US v Teman, and it is clear that this is to protect Engelmayer’s personal friends Noam Biale and

   AUSA Graham.



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PARTIES

 7.​ Plaintiff Ari Teman is the founder and owner of GateGuard, Inc., a trailblazing company in AI-enabled

    security solutions, and JCorps, a Jewish volunteer organization inspired by the Peace Corps. He resides

    primarily in Miami-Dade County, Florida, and GateGuard is currently engaged in litigation with MVI

    Industries, a competitor in the security technology sector.

 8.​ Defendant Sher Tremonte, LLP, is a New York Limited Liability Partnership with its principal offices located

    in New York County, New York. The firm provides legal services to clients, including Teman, in complex

    litigation matters within the Southern District of New York.

 9.​ Defendant Justine Harris is a partner at Sher Tremonte, operating from its New York County office. She was

    directly involved in Teman’s post-conviction representation, overseeing the firm’s efforts to investigate

    prosecutorial misconduct in his case.

 10.​Defendant Noam Biale is a senior associate at Sher Tremonte, also operating from its New York County

    office. Biale served as counsel in Teman’s case, during which he concealed a significant conflict of interest

    arising from his marriage to an SDNY prosecutor.

 11.​ Defendants Harris and Biale were retained as post-conviction counsel to investigate prosecutorial misconduct

    in United States v. Teman, Case No. 19-cr-696, a criminal case currently pending on appeal before the

    Second Circuit Court of Appeals, docketed as 21-1920 (the “Teman Case”).

 12.​Defendant Paul Adam Engelmayer is a judge in the Southern District of New York who presided over the

    Teman Case. During the proceedings, he engaged in extrajudicial actions and exhibited bias against Teman,

    including through defamatory statements and improper communications with prosecutors.

 13.​Defendant Edward Imperatore was an Assistant United States Attorney in the Southern District of New York

    and a member of the prosecutorial team in the Teman Case until his departure from the SDNY, the exact date

    of which is unspecified in available records.


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 14.​Defendant Kedar Bhatia was an Assistant United States Attorney in the Southern District of New York and

    served as the lead prosecutor in the Teman Case until his departure from the SDNY. He continues to serve as

    a U.S. Attorney in another jurisdiction, upon information and belief.

 15.​Defendant Margaret Graham is the wife of Noam Biale and an Assistant United States Attorney in the

    Southern District of New York. Her employment with the SDNY AO created a conflict of interest that

    compromised and continues to compromise Teman’s representation.

 16.​Defendant Jacob Gutwillig is an Assistant United States Attorney in the Southern District of New York and

    served as initial trial counsel in the Teman Case, participating in the prosecution that Teman alleges was

    marred by misconduct.

 17.​Defendant United States Attorney’s Office for the Southern District of New York (SDNY AO) is the federal

    prosecutorial office responsible for Teman’s case. Following Williams’ resignation, it is currently led by

    Acting U.S. Attorney Edward Y. Kim, pending the confirmation of a new appointee, such as Jay Clayton.

 18.​Plaintiff references Walsh v. United States, 17 CV 6651 (LAP) (the “Walsh Case”), as an example of another

    instance where Sher Tremonte, representing defendant John Walsh, testified as a government witness against

    their own client after pushing their client to take an unjustified and ultimately reversed plea deal and 20- year

    sentence without disclosing their conflict of interest with Graham, as documented in a transcript from that

    case (Exhibit B). Specifically, Sher Tremonte as in Teman’s case, did little to no work, and pushed their

    client into sentencing that was unwarranted by the facts. In Walsh’s case they had him plea to a $400,000,000

    loss, when the loss was less than $0. When interrogated on the stand by attorney Susan Kellman, it was

    proven that the Sher Tremonte firm had volunteered itself into the case as Biale did with Teman (Teman did

    not know Biale even existed), took a substantial sum of money, and then did not pursue a defense or counter

    the government in any way, and effectively acted as an arm of the government.




JURISDICTION AND VENUE

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21.​This Court possesses subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a), as there is complete

    diversity of citizenship between Plaintiff Teman, a citizen of the State of Florida, and all Defendants, who are

    citizens of the State of New York. The amount in controversy exceeds $75,000, exclusive of interest and

    costs, satisfying the requirements for diversity jurisdiction. Additionally, federal question jurisdiction exists

    under 28 U.S.C. § 1331 for claims arising under 42 U.S.C. § 1983, which address violations of Teman’s

    constitutional rights under the First, Fifth, and Sixth Amendments.

22.​Personal jurisdiction over all Defendants is established, as each is involved in criminal and civil proceedings

    within the Southern District of New York, where their actions giving rise to this complaint occurred. The

    Defendants’ conduct, including their roles in Teman’s prosecution and representation, is directly tied to this

    judicial district.

23.​Venue is proper in the Southern District of New York, as this is the judicial district where the causes of action

    accrued. The events underlying Teman’s claims, including his prosecution, the misconduct of his counsel,

    and Engelmayer’s judicial and extrajudicial actions, all took place within this district.

24.​Any statute of limitations applicable to Teman’s claims is tolled under both the discovery rule and equitable

    tolling principles. The full extent of the harm caused by Engelmayer’s refusal to hold hearings on

    exculpatory evidence that Biale falsely claimed to have pursued, as documented in the affirmations of

    Ronald D. Coleman (Exhibit D) and Shelly Jenkins Pecot (Exhibit E), is only now being uncovered through

    ongoing appellate proceedings and Teman’s § 2255 petition. Furthermore, Teman’s reasonable fear for his

    life and safety while under Engelmayer’s jurisdiction, stemming from credible threats posed by

    Engelmayer’s biased conduct—such as his religiously motivated defamation (Exhibit A) and ex parte

    communications with prosecutors (Exhibit G)—prevented him from pursuing these claims earlier. These

    circumstances warrant tolling under New York law, as articulated in Zumpano v. Quinn, 6 N.Y.3d 666, 674

    (2006), which applies the discovery rule when harm is not immediately apparent, and under federal equitable

    tolling principles, as established in Holland v. Florida, 560 U.S. 631, 649 (2010), which permits tolling in

    extraordinary circumstances that prevent timely filing.



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THE SHER TREMONTE SPOUSAL CONFLICT AND THE FIRM’S BETRAYAL

OF ITS CLIENT

  25.​On July 29, 2020, Teman executed a retainer agreement with Justine Harris for professional legal services to

      be rendered by Sher Tremonte in connection with the Teman Case. The operative indictment in the Teman

      Case alleged fraud arising from Teman’s use of RCCs to collect debts from real estate customers, a practice

      explicitly authorized by GateGuard’s Terms and Conditions.

  26.​Sher Tremonte and Harris were specifically engaged to explore the feasibility of filing additional post-trial

      motions in the district court, with a particular emphasis on identifying potential violations of Brady v.

      Maryland, 373 U.S. 83 (1963), and other instances of prosecutorial misconduct that could justify relief from

      Teman’s conviction.

  27.​Teman paid Sher Tremonte a retainer of $50,000 for its services, with billing rates set at $850 per hour for

      partners such as Harris and up to $650 per hour for associates, including Biale, as detailed in the engagement

      letter (Exhibit C). Upon termination of the representation, Sher Tremonte issued a final bill for legal services

      totaling $59,827.55, reflecting the work performed during their engagement.

  28.​The engagement letter, signed by Harris on behalf of Sher Tremonte, guaranteed a 15% discount on fees for

      the first two months of representation, further inducing Teman’s reliance on the firm’s competence, integrity,

      and freedom from conflicts of interest.

  29.​In the engagement letter, Sher Tremonte explicitly represented that “we are not aware of any other

      representation that would preclude the Firm from undertaking this engagement or adversely affect the Firm’s

      ability to complete it” (Exhibit C). Teman relied on this representation, reasonably believing that Sher

      Tremonte, Harris, and Biale were free of any conflicts that could impair their ability to provide zealous and

      undivided representation in the Teman Case.



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30.​Over the course of two months, Sher Tremonte, through Harris and Biale, obtained sensitive documents,

   strategic guidance, and privileged communications from Teman. Teman directed their attention to Joseph

   Soleimani, the managing director of ABJ Properties, one of the entities against which Teman had drawn

   RCCs at issue in the case. Teman believed that Soleimani had perjured himself at trial by denying knowledge

   of GateGuard’s Terms and Conditions, which clearly authorized the use of RCCs to collect overdue fees.

31.​Teman further instructed Sher Tremonte to investigate potential undisclosed communications between

   Soleimani and Samuel Taub, the owner of MVI Industries, Inc., a competitor of GateGuard and a former

   client. Teman believed these communications could provide exculpatory evidence, as Taub and MVI had

   acknowledged the binding nature of GateGuard’s Terms and Conditions in related litigation, even moving to

   compel arbitration based on those terms.

32.​At no point during this two-month period, during which Teman shared confidential files, strategic objectives,

   and privileged communications with Harris and Biale, did Sher Tremonte, Harris, or Biale disclose that Biale

   was married to Margaret Graham, an Assistant United States Attorney in the SDNY AO. Biale worked from

   home with Graham in close proximity during the Covid-19 lockdown, creating an environment where client

   confidences could not be preserved, as Graham was within earshot of Teman’s communications with Biale.

33.​Engelmayer’s close personal relationship with Biale and Graham enabled him to engage in extrajudicial

   actions that facilitated the concealment of this conflict. For years before the start of US v Teman, Engelmayer

   coached, recommended for positions, and mentored Biale and Graham in restaurants, Chambers, and other

   locations, all before any of these parties knew of Teman’s existence. These actions cannot be protected by

   judicial or prosecutorial immunity because Engelmayer was not a judge to Teman and Graham was not a

   prosecutor -- their actions were not under the role of judge or prosecutor, neither as relates to Teman or any

   other similarly situated party (It is worth noting that Teman intends to retain counsel and move for this case

   to become a class action against the defendants deprived of conflict-free counsel and defrauded by Sher

   Tremonte with the ongoing assistance of defendants Englmayer et al.). Furthermore, in or about September

   2020, Engelmayer visited Biale at his Brooklyn residence for a social occasion, during which he advised

   Biale on strategies to avoid disclosing his marriage to Graham to Teman and other clients, including those

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   involved in the Walsh Case. In October 2020, Engelmayer further communicated with Biale and Graham,

   providing guidance on how to frame their representation to the court to minimize scrutiny of the conflict, as

   part of a broader effort to protect the SDNY AO’s prosecutorial interests. Upon information and belief,

   evidence including GPS data and other documents will show multiple times Graham, Biale, and Engelmayer

   met outside of the courthouse, during these times.

34.​These actions by Engelmayer were not performed in his judicial capacity but were private interventions

   designed to shield Biale and Graham from ethical accountability, thereby defrauding Teman of his

   constitutional right to conflict-free counsel. The FOIA email obtained from Butowsky v. US Dep’t of Justice,

   21-cv-774 (Exhibit C), reveals communications among Harris, Bhatia, and other AUSAs discussing the

   Biale/Graham conflict, suggesting Engelmayer’s awareness and complicity in its concealment.

35.​On October 15, 2020, Biale and Harris contacted Kedar Bhatia at the Department of Justice, requesting

   production of any communications between Soleimani and Taub, as well as any DOJ interview notes

   reflecting Soleimani’s knowledge of GateGuard’s Terms and Conditions. The DOJ provided no responsive

   information, effectively stonewalling Teman’s defense.

36.​On October 23, 2020, Biale and Harris reiterated their request to Bhatia and Imperatore, seeking documents

   related to Soleimani’s housing court litigation and any communications between Soleimani and Taub,

   including those involving MVI. Again, the DOJ failed to produce any responsive documents, further

   hindering Teman’s ability to challenge the prosecution’s case.

37.​On November 2, 2020, Harris and Biale entered appearances for Teman and filed a Letter Motion with

   Engelmayer, seeking disclosure of notes related to Soleimani’s housing court litigation and any statements by

   Soleimani that were inconsistent with his trial testimony. Notably, the motion omitted any request for the

   Soleimani-Taub communications, which were central to Teman’s defense strategy and potentially

   exculpatory, reflecting a critical failure in their representation.

38.​On November 10, 2020, the Government filed a three-page response, asserting that it had produced all

   available information regarding the housing court matter and was unaware of any inconsistencies in

   Soleimani’s statements. This was false. The Government failed to address whether it had complied with a

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    prior court order to discuss the housing court matter with Soleimani, leaving critical questions unanswered

    and further undermining Teman’s defense. Defendants Biale , Harris, and Sher Tremonte had a responsibility

    to act on this but did not to protect his wifes team. Defendant Engelmayer had a responsibility to order a

    hearing into Biale’s alleged sabotage (as alleged by attorney Ronald Coleman) but did not to protect his

    friends Biale and Graham.

 39.​On November 19, 2020, Defendant Engelmayer issued a ruling, stating that he had reviewed the papers filed

    by Teman’s counsel, including the Letter Motion signed by Harris and Biale, and found the Government’s

    response satisfactory. Consequently, he ruled against Teman, denying the requested relief and perpetuating

    the harm caused by the prosecution’s withholding of potentially exculpatory evidence. Engelmayer had a

    responsibility to front his conflict with Biale and Graham at this time, but failed to do so, while Biale pushed

    Teman into sentencing despite every Harvard Law Professor and other legal expert who reviewed the case

    and all available evidence saying there was no crime and no intent.




THE VIOLATION OF CURCIO BY DEFENSE COUNSEL, THE

PROSECUTION, AND ENGLEMAYER

 40.​On December 1, 2020, during a sentencing hearing, Engelmayer abruptly suspended proceedings,

    announcing that a significant issue had arisen concerning the propriety of continuing with Biale as Teman’s

    counsel due to Biale’s marriage to Graham, an Assistant United States Attorney in the SDNY AO.

    Engelmayer claimed, implausibly given his close relationship and frequent intimate meetings with Biale and

    Graham, that he had only become aware of this conflict the previous day, as documented in the transcript of

    the hearing (Exhibit F).

 41.​Engelmayer provided a detailed account of his extensive ties to Biale, noting that he had spent an hour

    discussing Biale’s professional future, considered himself Biale’s mentor and friend, appointed Biale to

    represent an indigent defendant (whom he praised as “superb”), attended shiva at Biale’s Brooklyn apartment
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   in 2019, and received a group email announcing the birth of Biale’s son shortly before ruling on the Letter

   Motion. He also acknowledged a prior professional relationship with Graham from their time in private

   practice, underscoring his familiarity with both attorneys (Exhibit F).

42.​Engelmayer explicitly stated on the record, “Mr. Biale’s wife’s status as an employee of the United States

   Attorney’s Office for the Southern District of New York – Mr. Teman’s adversary in this case – presents a

   potential conflict” (Exhibit F). This acknowledgment highlighted the gravity of the conflict and its

   implications for Teman’s constitutional rights.

43.​Engelmayer outlined the mandatory procedures under United States v. Curcio, 680 F.2d 881, 888-890 (2d

   Cir. 1982), requiring the court to: (1) advise the defendant of the dangers arising from the conflict, (2)

   determine through narrative questioning whether the defendant understands and freely accepts those risks,

   and (3) provide time for the defendant to consult independent counsel. He emphasized that these steps are

   essential to ensure a knowing and intelligent waiver of the right to conflict-free counsel, without which a

   case cannot proceed.

44.​Engelmayer referenced a prior case where a similar spousal conflict was disclosed and waived, underscoring

   the necessity of a Curcio hearing to protect defendants’ rights. He concluded, “Absent a properly conducted

   Curcio proceeding resulting in a knowing waiver by Mr. Teman of the potential conflict here – and it needs

   to be a waiver that I find knowing and intelligent – we simply cannot proceed further with Mr. Biale

   representing Mr. Teman” (Exhibit F).

45.​Engelmayer acknowledged that such conflicts are typically brought to the court’s attention by counsel in

   advance, and he berated Bhatia for failing to raise the issue earlier. Bhatia admitted that he was unaware that

   the spousal relationship triggered a Curcio hearing, a failure Engelmayer deemed a breach of candor to the

   court (Exhibit F). This exchange revealed a systemic failure by both defense and prosecution to uphold

   Teman’s rights.

46.​Despite the gravity of the conflict, Engelmayer had not raised it before ruling on the Letter Motion on

   November 19, 2020, nor when he previously appointed Biale to represent an indigent defendant. This delay



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    suggests either negligence or deliberate inaction, given Engelmayer’s close relationship with Biale and his

    awareness of Graham’s role in the SDNY AO.

 47.​Neither Sher Tremonte, Harris, Biale, nor the prosecution alerted Teman to the conflict, depriving him of the

    opportunity to participate in a Curcio hearing and thereby violating his Sixth Amendment right to

    conflict-free counsel. This failure had profound consequences for Teman’s defense and the fairness of the

    proceedings.




SHER TREMONTE’S BREACH OF ITS FIDUCIARY DUTY

 48.​During the relevant period, Margaret Graham, like Biale, worked from home due to the Covid-19 pandemic

    and her maternity leave, sharing a small confined two-bedroom apartment in Kings County, New York

    (Brooklyn). This close proximity made it impossible for Biale to preserve client confidences, as Graham was

    privy to Teman’s privileged communications with Biale, creating an unacceptable risk of disclosure to the

    prosecution. Graham could be seen clearly in the background of video calls, but Teman did not know and had

    no reason to assume she was a prosecutor with the team prosecuting him -- and even more, that her team had

    pursued cases with the investigators who relied upon GateGuard technology and had even entered into these

    same online terms with GateGuard repeatedly.

 49.​The Covid-19 pandemic and New York’s ‘Stay At Home’ executive order, issued by Governor Andrew

    Cuomo, compelled both Biale and Graham to work from their shared residence, exacerbating the risk of

    inadvertent disclosure of sensitive information. The confined workspace heightened the potential for Graham

    to overhear or access Teman’s confidential discussions with Biale.

 50.​Biale conducted discussions with Teman via speakerphone and video conferencing, further compromising the

    confidentiality of attorney-client communications, as Graham could overhear or access these exchanges in

    their shared apartment. This environment was wholly unsuitable for maintaining the sanctity of privileged

    communications.

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51.​Sher Tremonte, Harris, and Biale failed to disclose Biale’s marriage to Graham or the resultant conflict, nor

   did they initiate a Curcio hearing to ensure that Teman could make an informed decision about whether to

   continue with conflicted counsel. This nondisclosure was a direct breach of their ethical and fiduciary duties

   to Teman.

52.​The failure to disclose the conflict denied Teman the opportunity to consult independent counsel regarding

   the risks of continued representation by conflicted counsel, further violating his right to make informed

   decisions about his legal representation.

53.​The conflict permeated Teman’s representation, causing irreversible damage by potentially leaking privileged

   information and defense strategies to the prosecution through Graham’s proximity and access. This breach

   undermined the integrity of Teman’s case and prejudiced his ability to mount an effective defense.

54.​By the time Engelmayer addressed the conflict on December 1, 2020, as documented in the sentencing

   hearing transcript (Exhibit F), the damage to Teman’s representation was irreparable. Sher Tremonte’s

   subsequent withdrawal on December 11, 2020, could not retroactively cure the constitutional violation

   caused by the conflict’s impact on earlier proceedings.

55.​Biale’s failure to pursue exculpatory evidence, such as testimony from 18 Mercer LLC shareholders,

   significantly delayed the discovery of critical information that could have challenged the prosecution’s case.

   These shareholders, as confirmed by Shelly Jenkins Pecot in her sworn statement, were fully aware of

   GateGuard’s fees and terms, directly contradicting their trial testimony (Exhibit E).

56.​Sher Tremonte, Harris, and Biale falsely represented to Teman, his corporate counsel, and others, including

   attorney Ronald D. Coleman, that they had pursued or intended to pursue this exculpatory evidence, when in

   fact they had not contacted the 18 Mercer shareholders, as Coleman affirmed (Exhibit D). This

   misrepresentation further delayed Teman’s ability to uncover evidence that could have altered the outcome of

   his case.

57.​The delays caused by these misrepresentations and inaction resulted in Teman enduring over eight months of

   near-solitary confinement, during which he suffered severe emotional, psychological, and physical harm, as



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    well as significant financial losses to GateGuard. Sher Tremonte’s breaches of duty are directly responsible

    for these injuries.




BIALE’S MISREPRESENTATIONS TO RONALD COLEMAN AND

ENGLEMAYER’S REFUSAL TO CONSIDER EXCULPATORY EVIDENCE

 58.​Ronald D. Coleman, an experienced attorney who previously represented GateGuard, Inc. in civil litigation,

    provided pro bono assistance to Teman in his efforts to secure dismissal or a pardon for his wrongful

    conviction. In an affirmation dated November 22, 2021, Coleman detailed a telephone call in November

    2020 with Teman and Sher Tremonte lawyers, during which Biale and others misrepresented their efforts to

    obtain exculpatory evidence from 18 Mercer shareholders (Exhibit D).

 59.​Coleman recalled that during the call, Sher Tremonte attorneys, including Biale, claimed they had contacted

    or intended to contact 18 Mercer shareholders to obtain documents regarding a board member’s improper

    conduct in connection with GateGuard. This board member was a key government witness at Teman’s trial,

    and the documents were potentially exculpatory, as they could have demonstrated the witness’s bias or

    knowledge of GateGuard’s terms (Exhibit D).

 60.​Biale’s misrepresentations misled both Teman and Coleman, delaying the discovery of critical exculpatory

    evidence. Shelly Jenkins Pecot’s sworn statement later confirmed that 18 Mercer shareholders were fully

    aware of GateGuard’s fees and had been properly notified by Teman, directly contradicting their trial

    testimony and exposing their perjury (Exhibit E).

 61.​Engelmayer has steadfastly refused to hold hearings on this exculpatory evidence, which has not yet been

    reviewed by the Second Circuit. This refusal appears motivated by Engelmayer’s desire to protect Biale, his

    close friend and mentee, from liability for contributing to Teman’s wrongful conviction through his failure to

    pursue this evidence and his false representations about doing so.


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 62.​Engelmayer’s refusal to consider this evidence compounds the harm to Teman, as Pecot’s statement and

    related documents demonstrate that 18 Mercer witnesses perjured themselves, undermining the validity of

    Teman’s conviction (Exhibit E). This evidence could have significantly altered the outcome of Teman’s case,

    potentially leading to a dismissal or acquittal.

 63.​The ongoing discovery of the harm caused by Biale’s misrepresentations and Engelmayer’s refusal to address

    this evidence tolls any applicable statute of limitations. Additionally, Teman’s fear for his life and safety

    under Engelmayer’s jurisdiction, due to the judge’s biased conduct and the psychological toll of his wrongful

    conviction, further justifies tolling, as it prevented Teman from pursuing these claims earlier.




WIDESPREAD DISREGARD OF CURCIO AT THE SDNY

 64.​A FOIA email obtained from Butowsky v. US Dep’t of Justice, 21-cv-774 (Exhibit C), reveals collusion

    between Harris and SDNY prosecutors, including Bhatia, Mermelstein, and others, to minimize, justify, or

    conceal the Biale/Graham conflict, demonstrating a deliberate effort to undermine Teman’s constitutional

    right to conflict-free counsel.

 65.​Damian Williams, during his tenure as U.S. Attorney, failed to acknowledge or address the issue when

    Teman brought it to his attention, perpetuating the constitutional violations affecting Teman’s case.

 66.​Kedar Bhatia overtly admitted that he was aware of the Biale/Graham conflict but chose not to raise it with

    the court or the defense, a failure implicitly shared by Imperatore and Gutwillig. Rebecca Mermelstein, as

    Co-Chief of the SDNY General Crimes Unit at the time, was informed of the issue but took no corrective

    action to rectify the deprivation of Teman’s constitutional rights.

 67.​The Walsh Case, where Biale testified as a government witness against his own client, John Walsh, without

    disclosing his conflict with Graham, as documented in a transcript (Exhibit B), evidences a troubling pattern

    of nondisclosure of the Biale/Graham conflict across multiple SDNY cases, further highlighting the systemic

    nature of the misconduct.
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JUDICIAL AND PROSECUTORIAL COLLUSION

 68.​In a sealed hearing transcript (Exhibit G, Dkt. 321-1), Engelmayer admitted to regularly making ex parte

    calls to former colleagues at the SDNY AO to ensure that the prosecution was adequately staffed to secure

    convictions. This practice constitutes impermissible collusion, as it places Engelmayer in the dual role of

    judge and de facto prosecutor, undermining the impartiality of the judicial process.

 69.​Engelmayer’s extrajudicial communications with Biale and Graham, including his September 2020 meeting

    at Biale’s residence and October 2020 emails (¶ 33), further biased the judicial process by facilitating the

    concealment of the Biale/Graham conflict, violating Teman’s due process rights under the Fifth Amendment.

 70.​The SDNY AO actively colluded with Engelmayer by responding to his staffing requests, reassigning

    prosecutors deemed insufficiently skilled or experienced and replacing them with more capable attorneys to

    ensure the convictions Engelmayer sought. This collaboration prejudiced Teman’s case and compromised the

    fairness of the proceedings.




ENGLEMAYER’S DEFAMATION AND RELIGIOUSLY MOTIVATED HATE

SPEECH

 71.​Engelmayer engaged in defamatory conduct by fabricating statements that Teman’s emails contained threats

    to cash RCCs on Passover to exploit Orthodox Jewish clients, falsely asserting that this timing demonstrated

    fraudulent intent (Exhibit A). These statements were not only baseless but relied on invented Jewish laws

    that misrepresent religious doctrine.

 72.​Engelmayer broadcast these false statements during Teman’s sentencing hearing on December 1, 2020, as

    captured in the transcript (Exhibit F), and repeated them in subsequent proceedings, even after correction by

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   24 ordained rabbis in their letter filed at Docket 326-1 (Exhibit A). The rabbis unequivocally stated that

   “there is not a shred of evidence in the record” for Engelmayer’s claims and that his assertion “constitutes an

   abuse of the Jewish faith for dishonest, misleading purposes” (Exhibit A).

73.​Under Klagsbrun v. Vaad Harabonim of Greater Monsey, 53 F. Supp. 3d 732, 740 (S.D.N.Y. 2014), secular

   courts lack jurisdiction to adjudicate or legislate religious doctrine, as such actions violate the First

   Amendment’s Establishment Clause. Engelmayer’s fabrication of Passover laws, claiming they prohibit

   financial transactions in a manner not recognized by Jewish law, constitutes a non-judicial act, rendering his

   conduct unprotected by judicial immunity, as immunity does not extend to acts taken in the “clear absence of

   all jurisdiction” (Mireles v. Waco, 502 U.S. 9, 11 (1991)).

74.​Engelmayer’s persistence in republishing these defamatory statements, despite authoritative correction by the

   rabbis, who described his comments as having an “anti-Jewish – even, alas, anti-semitic – tenor” (Exhibit A),

   demonstrates personal animus rather than judicial function. This further supports the argument that his

   actions are outside the scope of immunity and actionable as defamation and a First Amendment violation.

75.​Engelmayer’s defamatory statements caused profound reputational harm to Teman, a recognized leader in the

   Jewish community who was falsely portrayed as anti-Semitic. The rabbis noted, “As Rabbis, we cannot

   countenance your dishonest abuse of Jewish practices and your calumnious attacks on Mr. Teman” (Exhibit

   A), highlighting the severity of the injury to Teman’s standing and his ability to operate JCorps and other

   community initiatives.

76.​The ongoing discovery of the harm caused by Engelmayer’s religiously motivated defamation, coupled with

   Teman’s fear for his safety under Engelmayer’s jurisdiction, tolls any applicable statute of limitations, as

   Teman could not reasonably pursue this action earlier due to these extraordinary circumstances.

77.​Engelmayer continues to issue orders to Teman to outright violate his religious faith, Englemayer called the

   Jewish legal rulings of the Chief Rabbi of Israel and the Chief Rabbi of Modiin “bogus”, and ordered Teman

   to travel by boat from Israel to the USA (after a board-certified ENT ordered Teman not to fly due to an ear

   injury until it was resolved with steroids or surgery) despite knowing full well that no such boat exists so as

   to force Teman into an unavoidable violation -- as an aide to Biale and Graham and Sher Tremonte.

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    Engelmayer has consistently ignored the urging of Board-Certified medical experts to deny Teman urgently

    needed medical care. It is the believe of these experts, as expressed by Dr. Jonathan Harrison and Dr.

    Georgiy Brusovanik, that Engelmayer intends to cause Teman significant harm and possibly death. Given the

    desire to protect Biale, it is clear Englemayer is aiming to disable Teman from being able to file and pursue

    this litigation -- a draft of which was sent together with Teman’s appellate counsel to the defendants

    previously.




GOVERNMENT’S VIOLATION OF TEMAN’S RELIGIOUS RIGHTS

 77.​The government, through Gutwillig, Bhatia, Imperatore, Williams, and the SDNY AO, violated Teman’s

    First Amendment religious rights by fabricating and endorsing false Jewish laws regarding Passover to argue

    that Teman’s timing of RCC transactions demonstrated fraudulent intent (Exhibit A). This argument was

    advanced during trial and sentencing, falsely claiming that the Friday before Passover was a restricted period

    that Teman exploited to defraud Jewish clients.

 78.​The rabbis’ letter confirms that the government was aware that these claims were baseless, as evidenced by

    their knowledge that Soleimani had communicated with Teman via WhatsApp during the Intermediary Days

    of Passover the previous year, a period when Jewish law permits work, travel, and electronic use (Exhibit A).

    The government’s persistence in this false narrative, even after correction by the 24 rabbis, constitutes an

    intentional abuse of Teman’s religious identity and exceeds the scope of prosecutorial authority.

 79.​Under Klagsbrun, 53 F. Supp. 3d at 740, secular authorities, including prosecutors, lack jurisdiction to

    interpret or enforce religious doctrine, as such actions entangle the government in religious matters in

    violation of the First Amendment. The government’s fabrication of Passover laws to bolster its case against

    Teman was an administrative or investigative act, not advocative, and is therefore unprotected by

    prosecutorial immunity, as established in Van de Kamp v. Goldstein, 555 U.S. 335, 343 (2009).



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   80.​The government’s actions caused Teman severe reputational and emotional harm, compounding the

       defamation by Engelmayer. The ongoing discovery of these violations, as revealed through the rabbis’ letter

       and subsequent proceedings, tolls any applicable statute of limitations, ensuring that Teman’s claims remain

       actionable.




COUNT I – FRAUDULENT MISREPRESENTATION

(Against Sher Tremonte, Harris, and Biale)

   81.​Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

       forth herein.

   82.​Defendants Sher Tremonte, Harris, and Biale explicitly represented in the engagement letter that “we are not

       aware of any other representation that would preclude the Firm from undertaking this engagement or

       adversely affect the Firm’s ability to complete it” (Exhibit C). This representation was knowingly or

       recklessly false, as Biale’s marriage to Graham, an SDNY prosecutor, created a clear conflict of interest that

       required disclosure and a knowing waiver under Curcio.

   83.​Teman justifiably relied on these representations when retaining Sher Tremonte, believing that the firm was

       free of conflicts that could impair its representation. But for these false representations, Teman would not

       have engaged Sher Tremonte, Harris, and Biale, and would instead have hired competent, conflict-free

       counsel who could have effectively pursued the investigation of prosecutorial abuses.

   84.​As a direct result of Sher Tremonte’s fraudulent misrepresentations, Teman suffered significant damages,

       including prolonged confinement, financial losses to GateGuard, and severe emotional and psychological

       distress. The delays caused by Sher Tremonte’s inaction, compounded by Biale’s misrepresentations about

       pursuing exculpatory evidence (Exhibit D), prevented Teman from accessing capital markets during a

       favorable period in 2021, when a competitor, Latch, went public at a $1.56 billion valuation.



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   85.​The ongoing discovery of the harm caused by Sher Tremonte’s misrepresentations, particularly through

       Coleman’s affirmation (Exhibit D) and Pecot’s statement (Exhibit E), tolls any applicable statute of

       limitations. Teman’s fear for his safety under Engelmayer’s jurisdiction further justifies tolling, as it

       prevented timely pursuit of these claims.

   86.​As a result of the foregoing, Teman is entitled to compensatory damages in an amount to be determined at

       trial, together with punitive damages for Sher Tremonte’s malicious and intentional misconduct, as well as

       attorneys’ fees and costs.




COUNT II – BREACH OF FIDUCIARY DUTY

(Against Sher Tremonte, Harris, and Biale)

   87.​Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

       forth herein.

   88.​Sher Tremonte, Harris, and Biale owed Teman a fiduciary duty to act with undivided loyalty, to disclose any

       conflicts of interest promptly, and to pursue his defense with diligence and competence. This duty required

       them to inform Teman of Biale’s marriage to Graham and to seek a knowing waiver before proceeding with

       representation.

   89.​Sher Tremonte, Harris, and Biale breached this fiduciary duty by failing to disclose the Biale/Graham

       conflict, compromising privileged communications by working in close proximity to Graham, and lying to

       Teman and others, including Coleman, about their efforts to pursue exculpatory evidence from 18 Mercer

       shareholders (Exhibit D). These breaches undermined Teman’s defense and delayed the discovery of critical

       evidence (Exhibit E).

   90.​As a result of these breaches, Teman suffered substantial financial losses, including the diminished value of

       GateGuard, as well as severe emotional and psychological harm from prolonged confinement and the



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       betrayal by his counsel. The ongoing discovery of these harms, coupled with Teman’s fear for his safety, tolls

       any applicable statute of limitations.

   91.​Teman is entitled to compensatory damages in an amount to be determined at trial, together with attorneys’

       fees and costs, for Sher Tremonte’s egregious breach of its fiduciary obligations.




COUNT III – DEFAMATION AND FIRST AMENDMENT VIOLATION

(Against Engelmayer)

   92.​Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

       forth herein.

   93.​Engelmayer knowingly made false and injurious statements, asserting that Teman’s emails contained threats

       to cash RCCs on Passover to exploit Orthodox Jewish clients, claiming this timing showed fraudulent intent

       due to fabricated Jewish laws prohibiting such actions (Exhibit A). These statements were broadcast during

       Teman’s sentencing hearing on December 1, 2020, attended by Teman’s family, friends, and colleagues

       (Exhibit F).

   94.​These statements were demonstrably false, as Teman’s emails contain no such threats, and the rabbis

       confirmed that “there is not a shred of evidence in the record” for Engelmayer’s claims, noting that Judaism

       permits financial transactions during Passover’s Intermediary Days (Exhibit A). Engelmayer’s persistence in

       repeating these falsehoods after correction by the rabbis constitutes a deliberate act of defamation driven by

       personal animus.

   95.​Engelmayer’s actions constitute religiously motivated hate speech and an abuse of judicial authority, as they

       rely on fabricating non-existent Jewish laws. Under Klagsbrun v. Vaad Harabonim of Greater Monsey, 53 F.

       Supp. 3d 732, 740 (S.D.N.Y. 2014), secular courts lack jurisdiction to legislate religious doctrine, as this

       violates the First Amendment’s Establishment Clause. Engelmayer’s invention of Passover laws to defame



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      Teman and justify his conviction is a non-judicial act, unprotected by judicial immunity, as it exceeds his

      authority and entangles the judiciary in religious matters (Mireles v. Waco, 502 U.S. 9, 11 (1991)).

   96.​These statements violated Teman’s First Amendment right to free exercise of religion by targeting his Jewish

      identity and misrepresenting Jewish law to harm his reputation and liberty. The rabbis’ condemnation of

      Engelmayer’s “dishonest abuse of Jewish practices” underscores the severity of this violation (Exhibit A).

   97.​At the time of his arrest, Teman’s companies were front-page news, often mentioned alongside Latch, which

      went public at a $1.56 billion valuation. Engelmayer’s lies cast doubt on Teman’s character, falsely

      portraying him as anti-Semitic, causing severe reputational harm, mental anguish, emotional and

      psychological pain, physical illness, and lifelong damage to his reputation. Teman, recognized as a “North

      American Jewish Community Hero” by the Jewish Federations of North America, can no longer effectively

      operate JCorps due to this defamation (Exhibit A).

   98.​The ongoing discovery of the harm caused by Engelmayer’s defamation, coupled with Teman’s fear for his

      safety under Engelmayer’s jurisdiction, tolls any applicable statute of limitations, ensuring that this claim

      remains actionable.

   99.​As a result, Teman is entitled to compensatory damages in an amount to be determined at trial, together with

      punitive damages for Engelmayer’s malicious conduct, as well as attorneys’ fees and costs.




COUNT IV – VIOLATION OF THE FIFTH AND SIXTH AMENDMENTS

UNDER 42 U.S.C. § 1983

(Against Engelmayer, Williams, Imperatore, Bhatia, Gutwillig, Mermelstein, Graham, and the SDNY AO)

   100.​   Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

      forth herein.

   101.​   The failure of the government to disclose, and Engelmayer to address in.Concurrent with the sentencing

      hearing on December 1, 2020, Engelmayer’s belated acknowledgment of the Biale/Graham conflict, as
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   captured in the transcript (Exhibit F), revealed a profound violation of Teman’s Sixth Amendment right to

   conflict-free counsel. This delay allowed conflicted counsel to influence critical post-conviction motions,

   irreparably prejudicing Teman’s defense. Similarly, Engelmayer’s extrajudicial actions, including his

   September 2020 meeting with Biale and October 2020 emails with Biale and Graham (¶ 33), facilitated the

   concealment of this conflict, further undermining Teman’s Fifth Amendment right to due process by

   compromising the fairness of the judicial process.

102.​   Engelmayer’s refusal to hold hearings on exculpatory evidence, which Biale falsely claimed to have

   pursued, as affirmed by Ronald D. Coleman (Exhibit D) and corroborated by Shelly Jenkins Pecot (Exhibit

   E), exacerbated these constitutional violations. This evidence, demonstrating that 18 Mercer witnesses

   perjured themselves regarding their awareness of GateGuard’s fees, could have altered the outcome of

   Teman’s case but remains unreviewed by the Second Circuit due to Engelmayer’s inaction.

103.​   All Defendants acted under color of law when committing these violations, either through their direct

   participation in the prosecution, their failure to disclose the conflict, or their judicial oversight of the case.

   The SDNY AO, under Williams’ leadership and continuing under Acting U.S. Attorney Edward Y. Kim,

   bears institutional responsibility for the systemic failures that permitted these violations to persist.

104.​   The ongoing discovery of the harm caused by these constitutional violations, particularly through the

   emergence of exculpatory evidence and Engelmayer’s refusal to address it, tolls any applicable statute of

   limitations. Teman’s fear for his safety under Engelmayer’s jurisdiction, compounded by the psychological

   toll of his wrongful conviction, further justifies tolling, as it prevented timely pursuit of these claims.

105.​   As a result of these violations, Teman suffered harm in the form of a wrongful conviction and prolonged

   confinement, entitling him to compensatory damages in an amount to be determined at trial, together with

   punitive damages for the Defendants’ reckless disregard of his rights, as well as attorneys’ fees and costs.




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COUNT V – VIOLATION OF THE FIFTH AND FIRST AMENDMENTS UNDER

42 U.S.C. § 1983

(Against Engelmayer, Williams, Imperatore, Bhatia, Gutwillig, Mermelstein, Graham, and the SDNY AO)

   106.​   Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

      forth herein.

   107.​   Engelmayer’s practice of making ex parte calls to SDNY AO colleagues to ensure prosecutorial staffing

      sufficient to secure convictions, as admitted in the sealed hearing transcript (Exhibit G, Dkt. 321-1),

      constitutes a direct violation of Teman’s Fifth Amendment right to due process. By intervening in the

      prosecution’s staffing decisions, Engelmayer assumed the role of both judge and de facto prosecutor,

      compromising the impartiality of the judicial process and tilting the scales against Teman.

   108.​   The government, through Gutwillig, Bhatia, Imperatore, Williams, Mermelstein, and the SDNY AO,

      further violated Teman’s First Amendment religious rights by fabricating false Jewish laws regarding

      Passover to argue that Teman’s timing of RCC transactions demonstrated fraudulent intent (Exhibit A). The

      rabbis confirmed that the government knew these laws were false, as Soleimani had communicated with

      Teman during Passover’s Intermediary Days, when work is permitted (Exhibit A). Under Klagsbrun v. Vaad

      Harabonim of Greater Monsey, 53 F. Supp. 3d 732, 740 (S.D.N.Y. 2014), such actions entangle the

      government in religious doctrine, exceeding prosecutorial authority and rendering them unprotected by

      immunity, as they were administrative or investigative in nature (Van de Kamp v. Goldstein, 555 U.S. 335,

      343 (2009)).

   109.​   Engelmayer’s extrajudicial communications with Biale and Graham, including his efforts to conceal their

      conflict (¶ 33), contributed to these violations by biasing the judicial process against Teman, further

      undermining his due process rights.

   110.​   All Defendants acted under color of law in committing these violations, either through their prosecutorial

      actions, their failure to address the conflict, or their judicial oversight tainted by bias and improper

      communications.

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   111.​   The ongoing discovery of the harm caused by these violations, including the religious rights abuses and

      Engelmayer’s ex parte conduct, tolls any applicable statute of limitations. Teman’s fear for his safety under

      Engelmayer’s jurisdiction further justifies tolling, as it prevented timely pursuit of these claims.

   112.​   As a result of these violations, Teman suffered harm in the form of a wrongful conviction, prolonged

      confinement, and severe reputational and emotional damage, entitling him to compensatory damages in an

      amount to be determined at trial, together with punitive damages for the Defendants’ reckless disregard of

      his rights, as well as attorneys’ fees and costs.




COUNT VI – CIVIL CONSPIRACY

(Against Engelmayer, Biale, Graham, and Sher Tremonte)

   113.​   Plaintiff repeats, re-alleges, and incorporates by reference each of the foregoing paragraphs as if fully set

      forth herein.

   114.​   Defendants Engelmayer, Biale, Graham, and Sher Tremonte entered into an express or implied

      agreement to conceal the conflict of interest arising from Biale’s marriage to Graham, with the intent to

      defraud Teman of his constitutional right to conflict-free counsel and due process of law. This conspiracy

      was designed to protect Biale and Graham from ethical accountability, shield Sher Tremonte from liability,

      and maintain the SDNY AO’s prosecutorial advantage by ensuring Teman remained unaware of the conflict.

   115.​   Overt acts in furtherance of this conspiracy include, but are not limited to: a. Engelmayer’s private

      meeting with Biale in September 2020 at Biale’s Brooklyn residence, where he advised Biale on strategies to

      avoid disclosing the conflict to Teman (¶ 33). b. Engelmayer’s email communications with Biale and Graham

      in October 2020, providing guidance on framing their representation to minimize court scrutiny (¶ 33). c.

      Biale and Sher Tremonte’s failure to disclose the conflict to Teman, despite their fiduciary duty to do so, as

      evidenced by the engagement letter (Exhibit C). d. Graham’s participation in concealing the conflict while

      working from home with Biale, sharing privileged information that compromised Teman’s defense (¶¶

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     48-50). e. Biale’s false representations to Teman and Coleman about pursuing exculpatory evidence from 18

     Mercer shareholders, delaying the discovery of critical evidence (Exhibit D). f. The FOIA email from Harris

     to Bhatia and others, circulated to Mermelstein, revealing efforts to bury the conflict’s implications (Exhibit

     C).

  116.​    As a direct and proximate result of this conspiracy, Teman suffered damages, including prolonged

     confinement, financial losses to GateGuard, severe emotional distress, and reputational harm from

     Engelmayer’s defamatory statements. The conspiracy’s impact is evidenced by the Walsh Case, where Biale

     testified against his client without disclosing the conflict (Exhibit B), indicating a pattern of misconduct.

  117.​    The ongoing discovery of the harm caused by this conspiracy, particularly through Coleman’s affirmation

     (Exhibit D) and Pecot’s statement (Exhibit E), tolls any applicable statute of limitations. Teman’s fear for his

     safety under Engelmayer’s jurisdiction further justifies tolling, as it prevented timely pursuit of these claims.

  118.​    As a result, Teman is entitled to compensatory damages in an amount to be determined at trial, together

     with punitive damages for the Defendants’ malicious and intentional misconduct, as well as attorneys’ fees

     and costs.




JURY DEMAND

     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial by jury on all issues

     so triable.




Request for Disqualification of Judges with Prior Sher Tremonte Involvement

     Plaintiff respectfully requests that no judge who has previously presided over any matter in which Sher
     Tremonte, LLP, or its attorneys, including Justine Harris or Noam Biale, represented a party be assigned
     to this case, due to the significant conflict of interest posed by the firm’s central role as a defendant in

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    this action. The complaint alleges that Sher Tremonte, Harris, and Biale engaged in fraudulent
    misrepresentations, breached their fiduciary duties, and conspired to conceal a critical conflict of interest
    arising from Biale’s marriage to Assistant United States Attorney Margaret Graham, thereby causing
    Plaintiff severe harm, including wrongful conviction and prolonged confinement (¶¶ 81–91, 113–118). A
    judge who has relied on Sher Tremonte’s representations in prior cases may have a personal or
    professional interest in protecting the integrity of those proceedings, potentially leading to bias in favor
    of Sher Tremonte to avoid the appearance that large amounts of judicial work must be undone or
    reexamined due to the firm’s alleged misconduct. Such a conflict could compromise the impartiality
    required under 28 U.S.C. § 455(a), which mandates disqualification where a judge’s impartiality might
    reasonably be questioned. To ensure a fair and unbiased adjudication of this matter, Plaintiff requests
    that the case be assigned to a judge without prior exposure to Sher Tremonte’s representation, thereby
    safeguarding the integrity of these proceedings and Plaintiff’s right to an impartial tribunal.




WHEREFORE, Plaintiff demands judgment:

    (1) Under Count I, for compensatory and punitive damages resulting from Sher Tremonte’s, Harris’, and

    Biale’s fraudulent misrepresentations, in an amount to be determined at trial, together with attorneys’ fees

    and costs.

    (2) Under Count II, for compensatory damages resulting from Sher Tremonte’s, Harris’, and Biale’s breach

    of fiduciary duty, in an amount to be determined at trial, together with attorneys’ fees and costs.

    (3) Under Count III, for compensatory and punitive damages resulting from Engelmayer’s defamation and

    First Amendment violation, in an amount to be determined at trial, together with attorneys’ fees and costs.

    (4) Under Count IV, for compensatory and punitive damages resulting from Engelmayer, Williams,

    Imperatore, Bhatia, Gutwillig, Mermelstein, Graham, and the SDNY AO’s violation of Teman’s Fifth and

    Sixth Amendment rights, in an amount to be determined at trial, together with attorneys’ fees and costs.




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(5) Under Count V, for compensatory and punitive damages resulting from Engelmayer, Williams,

Imperatore, Bhatia, Gutwillig, Mermelstein, Graham, and the SDNY AO’s violation of Teman’s Fifth and

First Amendment rights, in an amount to be determined at trial, together with attorneys’ fees and costs.

(6) Under Count VI, for compensatory and punitive damages resulting from Engelmayer, Biale, Graham, and

Sher Tremonte’s civil conspiracy, in an amount to be determined at trial, together with attorneys’ fees and

costs.

(7) Issuing an injunction requiring the timely disclosure of spousal conflicts and the obtaining of a knowing

and voluntary waiver before any proceedings involving conflicted counsel may proceed in Teman’s case, and

prohibiting judges and prosecutors from conferring or coordinating on staffing matters or engaging in

extrajudicial actions to conceal conflicts or fabricate religious laws in Teman’s case.

(8) Such other and further relief as this Court deems just and proper.



Dated: Tel Aviv, Israel

June 28, 2025 / 3rd of Tamuz, 5785 (After sundown)

s/Ari Teman/​

Plaintiff, Pro Se​

ari@teman.com​

1521 Alton Road #888, ​

Miami Beach, FL 33139




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Exhibits

  ●​ Exhibit A: Letter from 24 Rabbis to Judge Paul Engelmayer, filed at Docket 326-1 in United States v.

     Teman, Case No. 19-cr-696, dated August 11, 2022, condemning Engelmayer’s fabrication of Jewish laws

     and defamatory statements.

  ●​ Exhibit B: Transcript from Walsh v. United States, Case No. 17 CV 6651 (LAP), documenting Sher

     Tremonte counsel’s testimony as a government witness against his client, John Walsh, without disclosing

     their conflict with Margaret Graham.

  ●​ Exhibit C: FOIA email obtained from Butowsky v. US Dep’t of Justice, Case No. 21-cv-774, revealing

     communications among Justine Harris, Kedar Bhatia, Rebecca Mermelstein, and others discussing the

     Biale/Graham conflict impacting “many SDNY cases”.

  ●​ Exhibit D: Affirmation of Ronald D. Coleman, filed at Docket 350-1 in United States v. Teman, dated

     November 22, 2021, affirming that Biale misrepresented efforts to pursue exculpatory evidence from 18

     Mercer shareholders.

  ●​ Exhibit E: Sworn Statement of Shelly Jenkins Pecot, filed at Docket 326, pp. 9–10 in United States v.

     Teman, dated August 21, 2021, confirming that 18 Mercer witnesses were aware of GateGuard’s fees,

     contradicting their trial testimony.

  ●​ Exhibit F: Transcript of the December 1, 2020, sentencing hearing in United States v. Teman, Case No.

     19-cr-696, where Engelmayer exposed the Biale/Graham conflict and suspended proceedings.

  ●​ Exhibit G: Hearing transcript, filed at Docket 321-1 in United States v. Teman, where Engelmayer admitted

     to making ex parte calls to SDNY AO colleagues to ensure prosecutorial staffing for convictions.

  ●​ Exhibit H: Engagement letter of Sher Tremonte




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